               Case 19-10446              Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                              Main Document
                                                                      Pg 1 of 87
Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF MISSOURI

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                              12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Michael                                                         Linda
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        Eugene                                                          Rose
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Minter                                                          Minter
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years Mike Minter
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-4331                                                     xxx-xx-2420
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                             page 1
              Case 19-10446              Doc 1        Filed 05/29/19 Entered 05/29/19 10:41:04                             Main Document
Debtor 1   Michael Eugene Minter
                                                                   Pg 2 of 87
Debtor 2   Linda Rose Minter                                                                          Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 333 S Shelby Street
                                 Perryville, MO 63775
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Perry
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
              Case 19-10446               Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                             Main Document
Debtor 1    Michael Eugene Minter
                                                                      Pg 3 of 87
Debtor 2    Linda Rose Minter                                                                             Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                                          Southern District of IL
                                                          - Ch 13 Closed
                                              District    01/28/2019                    When     3/02/18                Case number      18-30266
                                                          Southern District of
                                                          Illinois - Chapter 13.
                                              District    Closed 03/09/2018             When     7/22/15                Case number      15-31135
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?

                                                         No. Go to line 12.

                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
              Case 19-10446                 Doc 1     Filed 05/29/19 Entered 05/29/19 10:41:04                                 Main Document
Debtor 1    Michael Eugene Minter
                                                                   Pg 4 of 87
Debtor 2    Linda Rose Minter                                                                              Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
              Case 19-10446                Doc 1        Filed 05/29/19 Entered 05/29/19 10:41:04                            Main Document
Debtor 1    Michael Eugene Minter
                                                                     Pg 5 of 87
Debtor 2    Linda Rose Minter                                                                          Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
              Case 19-10446               Doc 1      Filed 05/29/19 Entered 05/29/19 10:41:04                                  Main Document
Debtor 1    Michael Eugene Minter
                                                                  Pg 6 of 87
Debtor 2    Linda Rose Minter                                                                             Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                               individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.       Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.       State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                       are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Michael Eugene Minter                                         /s/ Linda Rose Minter
                                 Michael Eugene Minter                                             Linda Rose Minter
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     May 29, 2019                                      Executed on     May 29, 2019
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
             Case 19-10446              Doc 1            Filed 05/29/19 Entered 05/29/19 10:41:04                             Main Document
Debtor 1   Michael Eugene Minter
                                                                      Pg 7 of 87
Debtor 2   Linda Rose Minter                                                                              Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Lesley M. Dormeyer                                             Date         May 29, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Lesley M. Dormeyer 59877MO
                                Printed name

                                The Jewel Law Firm, LLC
                                Firm name

                                1416 N. Kingshighway
                                Cape Girardeau, MO 63701
                                Number, Street, City, State & ZIP Code

                                Contact phone     573-332-1001                               Email address         lesleydormeyer@yahoo.com
                                59877MO MO
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
              Case 19-10446                      Doc 1           Filed 05/29/19 Entered 05/29/19 10:41:04                                                    Main Document
                                                                              Pg 8 of 87
 Fill in this information to identify your case:

 Debtor 1                   Michael Eugene Minter
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Linda Rose Minter
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF MISSOURI

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              21,290.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              21,290.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $              10,117.95

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             242,865.27


                                                                                                                                     Your total liabilities $               252,983.22


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                2,720.93

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                2,716.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                     Main Document
 Debtor 1      Michael Eugene Minter
                                                                         Pg 9 of 87
 Debtor 2      Linda Rose Minter                                                          Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $         208.93


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
              Case 19-10446                  Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                             Main Document
                                                                        Pg 10 of 87
 Fill in this information to identify your case and this filing:

 Debtor 1                   Michael Eugene Minter
                            First Name                      Middle Name                       Last Name

 Debtor 2                   Linda Rose Minter
 (Spouse, if filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MISSOURI

 Case number                                                                                                                                    Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1      Make:       Pontiac                                 Who has an interest in the property? Check one     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:      Vibe                                          Debtor 1 only                                Creditors Who Have Claims Secured by Property.
           Year:       2009                                          Debtor 2 only
                                                                                                                  Current value of the      Current value of the
           Approximate mileage:               105000                 Debtor 1 and Debtor 2 only                   entire property?          portion you own?
           Other information:                                        At least one of the debtors and another


                                                                     Check if this is community property                   $2,500.00                    $2,500.00
                                                                     (see instructions)



  3.2      Make:       Dodge                                   Who has an interest in the property? Check one     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:      Ram 1500                                      Debtor 1 only                                Creditors Who Have Claims Secured by Property.
           Year:       1997                                          Debtor 2 only
                                                                                                                  Current value of the      Current value of the
           Approximate mileage:               175000                 Debtor 1 and Debtor 2 only                   entire property?          portion you own?
           Other information:                                        At least one of the debtors and another
          Not running. Motor is shot
                                                                     Check if this is community property                      $750.00                     $750.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes




Official Form 106A/B                                                         Schedule A/B: Property                                                           page 1
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                            Main Document
 Debtor 1       Michael Eugene Minter
                                                                        Pg 11 of 87
 Debtor 2       Linda Rose Minter                                                                                   Case number (if known)


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                $3,250.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                  Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Couches, chairs, tables, lamps, entertainment center, wicker shelf,
                                    grandfather clock, beds, chairs, dressers, chest of drawers, desks,
                                    mirrors, lamps, night stands, bookshelves, kitchen table & chairs,
                                    microwave, refrigerator, deep freezer, dishes, cookware, ice
                                    maker, pressure cooker, sewing machine, tools, lawn mower,
                                    mirror, worx equipment                                                                                                       $2,275.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    TV, Radio, DVD player, camera, gaming system, cell phone                                                                       $810.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Music books, reading books, CDs, DVDs & VCR Tapes                                                                            $1,000.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    2 Recumbent bicycles                                                                                                           $300.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Clothing                                                                                                                       $150.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                          page 2
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             Case 19-10446                             Doc 1               Filed 05/29/19 Entered 05/29/19 10:41:04                               Main Document
 Debtor 1         Michael Eugene Minter
                                                                                       Pg 12 of 87
 Debtor 2         Linda Rose Minter                                                                                           Case number (if known)

12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            2 dogs (terrier-rottweiler & terrier-shepherd)                                                                              $50.00


14. Any other personal and household items you did not already list, including any health aids you did not list
     No
        Yes. Give specific information.....

                                            Musical instruments (Tuba, trombone, harmonicas)                                                                        $1,000.00


                                            3 walkers & mobility scooter                                                                                              $450.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $6,035.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash                                     $5.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:
                                                                                                  Regions Bank
                                                                                                  Account is negative and there's a hold on the
                                              17.1.       Checking                                account                                                                 $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:



Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 3
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             Case 19-10446                      Doc 1        Filed 05/29/19 Entered 05/29/19 10:41:04                               Main Document
 Debtor 1         Michael Eugene Minter
                                                                         Pg 13 of 87
 Debtor 2         Linda Rose Minter                                                                           Case number (if known)

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                         Debtors have not filed their 2018 tax return
                                                            yet.
                                                            They believe it will be offset by back
                                                            taxes once filed.                                      Federal                             Unknown


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
        Yes. Give specific information......


Official Form 106A/B                                                   Schedule A/B: Property                                                                page 4
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             Case 19-10446                       Doc 1            Filed 05/29/19 Entered 05/29/19 10:41:04                                                     Main Document
 Debtor 1        Michael Eugene Minter
                                                                              Pg 14 of 87
 Debtor 2        Linda Rose Minter                                                                                               Case number (if known)


                                                              Child Support
                                                                  Collectible through State of Illinois
                                                                  since 2009
                                                                  Last payment debtors received on this
                                                                  was 5-6 years ago                                                     Child Support                         $12,000.00


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                  Surrender or refund
                                                                                                                                                                    value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $12,005.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above




Official Form 106A/B                                                           Schedule A/B: Property                                                                                 page 5
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             Case 19-10446                         Doc 1             Filed 05/29/19 Entered 05/29/19 10:41:04                                                   Main Document
 Debtor 1         Michael Eugene Minter
                                                                                 Pg 15 of 87
 Debtor 2         Linda Rose Minter                                                                                                     Case number (if known)


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                      $0.00
 56. Part 2: Total vehicles, line 5                                                                            $3,250.00
 57. Part 3: Total personal and household items, line 15                                                       $6,035.00
 58. Part 4: Total financial assets, line 36                                                                  $12,005.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $21,290.00              Copy personal property total          $21,290.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $21,290.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                           page 6
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              Case 19-10446                  Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                              Main Document
                                                                        Pg 16 of 87
 Fill in this information to identify your case:

 Debtor 1                 Michael Eugene Minter
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Linda Rose Minter
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF MISSOURI

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      Couches, chairs, tables, lamps,                                 $2,275.00                                  $2,275.00     11 U.S.C. § 522(d)(3)
      entertainment center, wicker shelf,
      grandfather clock, beds, chairs,                                                     100% of fair market value, up to
      dressers, chest of drawers, desks,                                                   any applicable statutory limit
      mirrors, lamps, night stands,
      bookshelves, kitchen table & chairs,
      microwave, refrigerator, deep
      freezer, dishes, cookwa
      Line from Schedule A/B: 6.1

      TV, Radio, DVD player, camera,                                      $810.00                                  $810.00     11 U.S.C. § 522(d)(3)
      gaming system, cell phone
      Line from Schedule A/B: 7.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Music books, reading books, CDs,                                $1,000.00                                  $1,000.00     11 U.S.C. § 522(d)(3)
      DVDs & VCR Tapes
      Line from Schedule A/B: 8.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2 Recumbent bicycles                                                $300.00                                  $300.00     11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 9.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                 Main Document
             Michael Eugene Minter
                                                                        Pg 17 of 87
 Debtor 1
 Debtor 2    Linda Rose Minter                                                                           Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Clothing                                                            $150.00                                   $150.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     2 dogs (terrier-rottweiler &                                         $50.00                                    $50.00        11 U.S.C. § 522(d)(3)
     terrier-shepherd)
     Line from Schedule A/B: 13.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Musical instruments (Tuba,                                       $1,000.00                                  $1,000.00        11 U.S.C. § 522(d)(3)
     trombone, harmonicas)
     Line from Schedule A/B: 14.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     3 walkers & mobility scooter                                        $450.00                                   $450.00        11 U.S.C. § 522(d)(9)
     Line from Schedule A/B: 14.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Federal: Debtors have not filed their                            Unknown                                    $3,500.00        11 U.S.C. § 522(d)(5)
     2018 tax return yet.
     They believe it will be offset by back                                                100% of fair market value, up to
     taxes once filed.                                                                     any applicable statutory limit
     Line from Schedule A/B: 28.1

     Child Support: Child Support                                    $12,000.00                                $12,000.00         11 U.S.C. § 522(d)(10)(D)
     Collectible through State of Illinois
     since 2009                                                                            100% of fair market value, up to
     Last payment debtors received on                                                      any applicable statutory limit
     this was 5-6 years ago
     Line from Schedule A/B: 29.1


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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              Case 19-10446                       Doc 1       Filed 05/29/19 Entered 05/29/19 10:41:04                                    Main Document
                                                                          Pg 18 of 87
 Fill in this information to identify your case:

 Debtor 1                   Michael Eugene Minter
                            First Name                        Middle Name                      Last Name

 Debtor 2                   Linda Rose Minter
 (Spouse if, filing)        First Name                        Middle Name                      Last Name


 United States Bankruptcy Court for the:               EASTERN DISTRICT OF MISSOURI

 Case number
 (if known)                                                                                                                                        Check if this is an
                                                                                                                                                   amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                             Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As    Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                   Do not deduct the      that supports this      portion
                                                                                                             value of collateral.   claim                   If any
 2.1     Car Mart                                   Describe the property that secures the claim:                  $9,000.00                $2,500.00           $6,500.00
         Creditor's Name                            2009 Pontiac Vibe 105000 miles
         1455 North
         Kingshighway
                                                    As of the date you file, the claim is: Check all that
         Cape Girardeau, MO                         apply.
         63701                                          Contingent
         Number, Street, City, State & Zip Code         Unliquidated
                                                        Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
     Debtor 1 only                                      An agreement you made (such as mortgage or secured
     Debtor 2 only                                       car loan)
       Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another            Judgment lien from a lawsuit
       Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred          05/2019                     Last 4 digits of account number


 2.2     Title Max of Illinois, Inc                 Describe the property that secures the claim:                  $1,117.95                   $750.00             $367.95
         Creditor's Name                            1997 Dodge Ram 1500 175000 miles
                                                    Not running. Motor is shot
                                                    As of the date you file, the claim is: Check all that
         2533 - B Vandalia St                       apply.
         Collinsville, IL 62234                         Contingent
         Number, Street, City, State & Zip Code         Unliquidated
                                                        Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
     Debtor 1 only                                      An agreement you made (such as mortgage or secured
     Debtor 2 only                                       car loan)
       Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another            Judgment lien from a lawsuit
       Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred          03/22/2018                  Last 4 digits of account number        1672


Official Form 106D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                               Main Document
                                                                        Pg 19 of 87
 Debtor 1 Michael Eugene Minter                                                                  Case number (if known)
              First Name                Middle Name                  Last Name
 Debtor 2 Linda Rose Minter
              First Name                Middle Name                  Last Name




   Add the dollar value of your entries in Column A on this page. Write that number here:                         $10,117.95
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                        $10,117.95

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 2 of 2
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               Case 19-10446                   Doc 1         Filed 05/29/19 Entered 05/29/19 10:41:04                                            Main Document
                                                                         Pg 20 of 87
 Fill in this information to identify your case:

 Debtor 1                   Michael Eugene Minter
                            First Name                      Middle Name                       Last Name

 Debtor 2                   Linda Rose Minter
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF MISSOURI

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          AAA Insurance Co.                                       Last 4 digits of account number         9406                                                           $337.00
              Nonpriority Creditor's Name
              12901 N Forty Drive                                     When was the debt incurred?
              Saint Louis, MO 63141-8634
              Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                           Contingent
                  Debtor 2 only                                           Unliquidated
                  Debtor 1 and Debtor 2 only                              Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                  Student loans
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                     Other. Specify   Insurance




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 21 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.2      Aaron's                                                    Last 4 digits of account number       2406                                             $3,528.00
          Nonpriority Creditor's Name
          2035 W US Hwy 50                                           When was the debt incurred?
          Fairview Heights, IL 62208-2928
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Rental Contract


 4.3      Ameren Illinois                                            Last 4 digits of account number                                                        $9,441.32
          Nonpriority Creditor's Name
          2105 E State Route 104                                     When was the debt incurred?           2012 - 2015
          Pawnee, IL 62558
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities


 4.4      Ameren IP                                                  Last 4 digits of account number       3048                                             $3,048.00
          Nonpriority Creditor's Name
          500 S 27th St                                              When was the debt incurred?
          Decatur, IL 62521
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 22 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.5      Aspen Waste Systems                                        Last 4 digits of account number       6629                                                 $60.00
          Nonpriority Creditor's Name
          c/o Specified Credit Association                           When was the debt incurred?
          2388 Schuetz Suite A100
          Saint Louis, MO 63146-3434
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities


 4.6      AT&T                                                       Last 4 digits of account number                                                        $1,643.54
          Nonpriority Creditor's Name
          Bankrutcy Department                                       When was the debt incurred?
          P.O. Box 769
          Arlington, TX 76004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Multiple Utility Accounts


 4.7      AT&T Corp                                                  Last 4 digits of account number                                                          $194.06
          Nonpriority Creditor's Name
          by American InfoSource LP as                               When was the debt incurred?
          agent
          4515 N Santa Fe Ave
          Oklahoma City, OK 73118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 23 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.8      Barnes Jewish Hospital                                     Last 4 digits of account number                                                            $75.00
          Nonpriority Creditor's Name
          P.O. Box 954540                                            When was the debt incurred?           8097
          Saint Louis, MO 63195-4540
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services


 4.9      BJC Health Care                                            Last 4 digits of account number                                                          $339.94
          Nonpriority Creditor's Name
          PO Box 958410                                              When was the debt incurred?           2018
          Saint Louis, MO 63195-8410
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical


 4.1
 0        BJC Health Care                                            Last 4 digits of account number                                                        $1,058.62
          Nonpriority Creditor's Name
          PO Box 958410                                              When was the debt incurred?           2018
          Saint Louis, MO 63195-8410
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 24 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.1
 1        BJC Home Care Services                                     Last 4 digits of account number                                                          $108.89
          Nonpriority Creditor's Name
          6900 College Blvd                                          When was the debt incurred?           March 2019
          Suite 550
          Leawood, KS 66211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical


 4.1
 2        Bridgecrest Credit Company, LLC                            Last 4 digits of account number                                                        $8,253.54
          Nonpriority Creditor's Name
          PO Box 29018                                               When was the debt incurred?
          Phoenix, AZ 85038
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Auto Deficiency


 4.1
 3        CACi                                                       Last 4 digits of account number                                                            $60.49
          Nonpriority Creditor's Name
          GLCAC102                                                   When was the debt incurred?           1957 7587
          P.O. Box 1022
          Wixom, MI 48393-1022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 25 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.1
 4        Car Credit City                                            Last 4 digits of account number                                                          $100.00
          Nonpriority Creditor's Name
          c/o Anthony K Reiner                                       When was the debt incurred?           1088
          11970 Borman Drive, Suite 250
          Saint Louis, MO 63146-4153
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Balance due after repossession


 4.1
 5        Cash Central                                               Last 4 digits of account number       2353                                               $475.00
          Nonpriority Creditor's Name
          PO Box 4115                                                When was the debt incurred?           01/2019
          Concord, CA 94524
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal Loan


 4.1
 6        Castle Acres                                               Last 4 digits of account number                                                        $1,750.00
          Nonpriority Creditor's Name
          1713 W Us Hwy 50                                           When was the debt incurred?
          O Fallon, IL 62269
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Lot Rent




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 26 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.1
 7        Cavalry SPV II LLC                                         Last 4 digits of account number                                                          $458.25
          Nonpriority Creditor's Name
          500 Summit Lake Drive                                      When was the debt incurred?
          Suite 400
          Valhalla, NY 10595
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Assignee of GE Money/JC Penney


 4.1
 8        Charter Communications                                     Last 4 digits of account number       Multiple                                         $1,487.00
          Nonpriority Creditor's Name
          PO Box 790086                                              When was the debt incurred?
          Saint Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Cable Services


 4.1
 9        Check 'n Go                                                Last 4 digits of account number                                                          $406.20
          Nonpriority Creditor's Name
          c/o Real Time Resolutions, Inc.                            When was the debt incurred?
          PO Box 566027
          Dallas, TX 75356-6027
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Filed Claim in Previous BK




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 27 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.2
 0        Check Into Cash                                            Last 4 digits of account number       31L                                                $833.00
          Nonpriority Creditor's Name
          P.O. Box 550                                               When was the debt incurred?
          201 Keith Street, Suite 800
          Cleveland, TN 37364-0550
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Cash Loan


 4.2
 1        Consumer Collection Mana                                   Last 4 digits of account number                                                          $165.00
          Nonpriority Creditor's Name
          P.O. Box 1839                                              When was the debt incurred?           Multiple
          Maryland Heights, MO 63043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services


 4.2
 2        Crochet                                                    Last 4 digits of account number       36CF                                                 $26.95
          Nonpriority Creditor's Name
          PO Box 5900                                                When was the debt incurred?           12/21/2017
          Big Sandy, TX 75755-5900
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Magazine




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 8 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 28 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.2
 3        Davis Pet Hospital                                         Last 4 digits of account number                                                          $437.30
          Nonpriority Creditor's Name
          816 S. Morrison Ave                                        When was the debt incurred?
          Collinsville, IL 62234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services


 4.2
 4        Direct TV                                                  Last 4 digits of account number       7181                                               $275.74
          Nonpriority Creditor's Name
          PO Box 1699                                                When was the debt incurred?           01/2017
          Southgate, MI 48195-0699
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Cable TV


 4.2
 5        Dish Network                                               Last 4 digits of account number                                                          $907.00
          Nonpriority Creditor's Name
          P.O. Box 94063                                             When was the debt incurred?
          Palatine, IL 60094-4063
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Satellite Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 9 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 29 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.2
 6        Distinctive Dermatology                                    Last 4 digits of account number       1984                                               $575.00
          Nonpriority Creditor's Name
          180 Weidman Rd, Suite 125                                  When was the debt incurred?
          Ballwin, MO 63021-5724
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services


 4.2
 7        Dr Kenneth Kollman                                         Last 4 digits of account number       1241                                               $343.00
          Nonpriority Creditor's Name
          90 Crestmoor                                               When was the debt incurred?
          Collinsville, IL 62234-4951
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical


 4.2
 8        Dr Regina Chiu MD                                          Last 4 digits of account number                                                            $58.65
          Nonpriority Creditor's Name
          340 W Lincoln St #400                                      When was the debt incurred?           2018
          Belleville, IL 62220
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 10 of 35
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 30 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.2
 9        Drew Kozando                                               Last 4 digits of account number                                                        $2,650.00
          Nonpriority Creditor's Name
          614 Kiefner St.                                            When was the debt incurred?           November 2018
          Perryville, MO 63775
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Accident


 4.3
 0        DT Acceptance Corp                                         Last 4 digits of account number       7801                                           $15,217.00
          Nonpriority Creditor's Name
          7400 S Lindbergh Blvd                                      When was the debt incurred?
          Saint Louis, MO 63125-4836
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   2008 Buick LaCrosse


 4.3      Edwardsville Ambulatory Surgery
 1        Ctr                                                        Last 4 digits of account number                                                          $150.00
          Nonpriority Creditor's Name
          12 Ginger Creek Pkwy                                       When was the debt incurred?
          Glen Carbon, IL 62034-3502
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 11 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 31 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.3
 2        ENT Sleep                                                  Last 4 digits of account number       D9D2                                                 $75.00
          Nonpriority Creditor's Name
          1179 Fortune Blvd                                          When was the debt incurred?           03/22/2018
          O Fallon, IL 62269
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services


 4.3
 3        Fingerhut Direct Marketing                                 Last 4 digits of account number                                                          $230.00
          Nonpriority Creditor's Name
          6509 Flying Clouds Dr,                                     When was the debt incurred?
          Eden Prairie, MN 55344
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card Purchases


 4.3
 4        First Premier Bank                                         Last 4 digits of account number       9044                                               $647.00
          Nonpriority Creditor's Name
          PO Box 5529                                                When was the debt incurred?
          Sioux Falls, SD 57117-5529
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card Purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 12 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 32 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.3
 5        Full Circle Financial Services                             Last 4 digits of account number       0600                                               $249.75
          Nonpriority Creditor's Name
          PO Box 2438                                                When was the debt incurred?
          Largo, FL 33779-2438
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Consumer Debt


 4.3
 6        GE Money Bank                                              Last 4 digits of account number       4618                                               $458.25
          Nonpriority Creditor's Name
          PO Box 965007                                              When was the debt incurred?           01/2012
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.3      General Credit Acceptance
 7        Company, LLC                                               Last 4 digits of account number                                                      $17,731.03
          Nonpriority Creditor's Name
          c/o Miller & Steeno, PC                                    When was the debt incurred?
          11970 Borman Drive, Suite 250
          Saint Louis, MO 63146
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Filed Claim in Previous BK




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 13 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 33 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.3      General Credit Acceptance
 8        Company, LLC                                               Last 4 digits of account number                                                      $23,059.73
          Nonpriority Creditor's Name
          c/o Miller & Steeno, PC                                    When was the debt incurred?
          11970 Borman Drive, Suite 250
          Saint Louis, MO 63146
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Filed Claim in Previous BK


 4.3
 9        GLCAC                                                      Last 4 digits of account number       0942                                               $100.49
          Nonpriority Creditor's Name
          PO Box 1280                                                When was the debt incurred?
          Oaks, PA 19456-1280
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Wash U School of Medicine


 4.4
 0        Glen Carbon Family Dentistry                               Last 4 digits of account number       3004                                                 $25.00
          Nonpriority Creditor's Name
          4235 S State Rte 159                                       When was the debt incurred?
          Glen Carbon, IL 62034-3232
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Dental Bill




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 14 of 35
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 34 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.4
 1        Glennon Care Prof Service                                  Last 4 digits of account number                                                          $160.48
          Nonpriority Creditor's Name
          Day Knight & Assoc                                         When was the debt incurred?
          PO Box 5
          Grover, MO 63040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Filed Claim in Previous BK


 4.4
 2        Herrschners Treasury                                       Last 4 digits of account number       9CD8                                                 $18.93
          Nonpriority Creditor's Name
          PO Box 761                                                 When was the debt incurred?           2018
          Stevens Point, WI 54481-0761
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Magazine


 4.4
 3        HSHS Division Southern IL                                  Last 4 digits of account number       Multi                                            $2,183.80
          Nonpriority Creditor's Name
          St Elizabeth's Hospital                                    When was the debt incurred?
          PO BOx 6580
          Carol Stream, IL 60197
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 15 of 35
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 35 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.4
 4        HSHS Hospital Sisters                                      Last 4 digits of account number                                                            $69.00
          Nonpriority Creditor's Name
          PO Box 13427                                               When was the debt incurred?
          Springfield, IL 62791
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical


 4.4
 5        HSHS Medical Group                                         Last 4 digits of account number                                                          $249.15
          Nonpriority Creditor's Name
          29333 Network Place                                        When was the debt incurred?           January 2018
          Chicago, IL 60673
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical


 4.4
 6        HSHS Medical Group                                         Last 4 digits of account number                                                        $1,750.00
          Nonpriority Creditor's Name
          29333 Network Place                                        When was the debt incurred?           2018
          Chicago, IL 60673
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 16 of 35
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 36 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.4
 7        HSHS/St Elizabeth Hospital                                 Last 4 digits of account number       Multi                                            $6,104.41
          Nonpriority Creditor's Name
          211 N 3rd St                                               When was the debt incurred?
          Belleville, IL 62220
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical


 4.4
 8        Illinois Bell Telephone Company                            Last 4 digits of account number       3994                                               $601.71
          Nonpriority Creditor's Name
          % AT&T Services Inc                                        When was the debt incurred?
          Karen A Cavagnaro - Lead
          Paralegal
          One AT&T Way, Room 3A104
          Bedminster, NJ 07921
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services


 4.4
 9        Illinois Department of Revenue                             Last 4 digits of account number       6826                                                 $46.66
          Nonpriority Creditor's Name
          PO Box 19035                                               When was the debt incurred?           2012
          Springfield, IL 62794-9035
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Taxes




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 17 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 37 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.5
 0        Illinois Dept of Revenue                                   Last 4 digits of account number       6864                                               $131.19
          Nonpriority Creditor's Name
          Bankruptcy Section                                         When was the debt incurred?           2016 & 2017
          PO Box 64338
          Chicago, IL 60664-0291
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Taxes


 4.5
 1        Infinity Meds LLP                                          Last 4 digits of account number       190A                                               $948.52
          Nonpriority Creditor's Name
          800 E Carpenter St                                         When was the debt incurred?           2014-2016
          Springfield, IL 62702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services


 4.5
 2        Instacredit Auto Mart                                      Last 4 digits of account number                                                      $10,246.00
          Nonpriority Creditor's Name
          1807 W US 50                                               When was the debt incurred?
          O Fallon, IL 62269-1647
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Balance Due after Repossession




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 18 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 38 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.5
 3        Internal Revenue Service                                   Last 4 digits of account number       4331                                           $79,356.17
          Nonpriority Creditor's Name
          PO Box 7346                                                When was the debt incurred?           2002 & 2008
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Taxes


 4.5
 4        Kevin Barnett, MD                                          Last 4 digits of account number       5710                                                 $52.00
          Nonpriority Creditor's Name
          1414 Cross St, Suite 330                                   When was the debt incurred?
          O Fallon, IL 62269-2988
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services


 4.5
 5        King's Spinal & Sports Rehab                               Last 4 digits of account number       8427                                                 $20.00
          Nonpriority Creditor's Name
          1525 Johnson Road                                          When was the debt incurred?
          Granite City, IL 62040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 19 of 35
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 39 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.5
 6        Med Resources                                              Last 4 digits of account number       5245                                                 $19.00
          Nonpriority Creditor's Name
          14808 N Outer 40 Rd, Suite 100                             When was the debt incurred?
          Chesterfield, MO 63017
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical


 4.5
 7        Medical West                                               Last 4 digits of account number       2647                                                 $10.58
          Nonpriority Creditor's Name
          PO Box 230                                                 When was the debt incurred?           08/2017
          Odessa, MO 64076-0230
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services


 4.5
 8        Memorial Hospital                                          Last 4 digits of account number       8691                                                 $90.00
          Nonpriority Creditor's Name
          1900 State Street                                          When was the debt incurred?           2018
          Chester, IL 62233
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 20 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 40 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.5
 9        Metro East Sanitary District                               Last 4 digits of account number                                                          $195.00
          Nonpriority Creditor's Name
          1800 Edison Ave                                            When was the debt incurred?
          Granite City, IL 62040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities


 4.6
 0        Moto Mart Card                                             Last 4 digits of account number                                                          $100.00
          Nonpriority Creditor's Name
          c/o FKG Oil Company                                        When was the debt incurred?
          721 W Main St
          Belleville, IL 62220
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card Purchases


 4.6
 1        Musick Dermatology LLC                                     Last 4 digits of account number                                                          $100.00
          Nonpriority Creditor's Name
          4932 Benchmark Centre Dr                                   When was the debt incurred?
          Belleville, IL 62226-2040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 21 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 41 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.6
 2        Neal's Plumbing Service, Inc.                              Last 4 digits of account number                                                          $650.00
          Nonpriority Creditor's Name
          1404 Bauer Rd                                              When was the debt incurred?
          Troy, IL 62294
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Plumbing


 4.6
 3        NES of OHIO                                                Last 4 digits of account number       C047                                               $820.19
          Nonpriority Creditor's Name
          2479 Edison Blvd Unit A                                    When was the debt incurred?
          Twinsburg, OH 44087
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   JH Portfolio Debt Equities, LLC


 4.6
 4        North Shore Agency                                         Last 4 digits of account number       5603                                                 $25.98
          Nonpriority Creditor's Name
          PO Box 9205                                                When was the debt incurred?
          Old Bethpage, NY 11804-9005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   outstanding bill




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 22 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 42 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.6
 5        Optum Rx                                                   Last 4 digits of account number       1047                                               $152.83
          Nonpriority Creditor's Name
          PO Box 9040                                                When was the debt incurred?           06/2018
          Carlsbad, CA 92018-9040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services


 4.6
 6        Optum Rx                                                   Last 4 digits of account number       0015                                                 $80.46
          Nonpriority Creditor's Name
          PO Box 9040                                                When was the debt incurred?           08/2018
          Carlsbad, CA 92018-9040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services


 4.6
 7        PCMH Wound Clinic                                          Last 4 digits of account number       0002                                               $100.00
          Nonpriority Creditor's Name
          206 Hospital Lane, Suite 204                               When was the debt incurred?           2019
          Perryville, MO 63775
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 23 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 43 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.6
 8        Perry County Memorial Hospital                             Last 4 digits of account number       5427                                               $600.00
          Nonpriority Creditor's Name
          434 N West St                                              When was the debt incurred?           2018-2019
          Perryville, MO 63775
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services


 4.6
 9        Perry County Memorial Hospital                             Last 4 digits of account number       5766                                               $675.00
          Nonpriority Creditor's Name
          434 N West St                                              When was the debt incurred?           2018-2019
          Perryville, MO 63775
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services


 4.7
 0        Prairie Cardiovascular                                     Last 4 digits of account number                                                          $128.00
          Nonpriority Creditor's Name
          P.O. Box 19420                                             When was the debt incurred?           December 2018
          Springfield, IL 62794
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 24 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 44 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.7
 1        Prairie Cardiovascular                                     Last 4 digits of account number                                                          $102.00
          Nonpriority Creditor's Name
          P.O. Box 19420                                             When was the debt incurred?           2014
          Springfield, IL 62794
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical


 4.7
 2        Premier Bankcard, LLC                                      Last 4 digits of account number       4629                                               $646.60
          Nonpriority Creditor's Name
          Jefferson Capital Systems, LLC                             When was the debt incurred?
          Assignee
          PO Box 7999
          Saint Cloud, MN 56302-9617
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Filed Claim in Previous BK


 4.7
 3        Prestige Financial Services                                Last 4 digits of account number       4636                                           $17,962.73
          Nonpriority Creditor's Name
          PO Box 26707                                               When was the debt incurred?
          Salt Lake City, UT 84126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Filed Claim in Previous BK




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 25 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 45 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.7
 4        Professional Adjustment Bureau                             Last 4 digits of account number       0407                                               $158.16
          Nonpriority Creditor's Name
          1305 South 9th Street                                      When was the debt incurred?
          Springfield, IL 62703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical


 4.7
 5        Progressive Leasing LLC                                    Last 4 digits of account number       4311                                             $2,271.00
          Nonpriority Creditor's Name
          10619 S Jordan Gateway, Suite 100                          When was the debt incurred?
          South Jordan, UT 84095
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services


 4.7
 6        Quantum Vision Centers                                     Last 4 digits of account number       0903                                               $104.89
          Nonpriority Creditor's Name
          12692 Lamplighter Square                                   When was the debt incurred?           08/17/2018
          Shopping Center
          Saint Louis, MO 63128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 26 of 35
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 46 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.7
 7        Quantum3 Group LLC as agent for                            Last 4 digits of account number                                                          $701.83
          Nonpriority Creditor's Name
          Galazy International Purchasing                            When was the debt incurred?
          LLC
          PO Box 788
          Kirkland, WA 98083-0788
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Money Loaned


 4.7
 8        Quest Diagnostics                                          Last 4 digits of account number                                                              $8.54
          Nonpriority Creditor's Name
          PO Box 7306                                                When was the debt incurred?           August 2018
          Hollister, MO 65673
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical


 4.7
 9        QVC                                                        Last 4 digits of account number       8983                                               $820.19
          Nonpriority Creditor's Name
          100 QVC Blvd                                               When was the debt incurred?           11/2014
          Rocky Mount, NC 27815
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 27 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 47 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.8
 0        Radiology Consults MidAmerica                              Last 4 digits of account number       7911                                                 $53.73
          Nonpriority Creditor's Name
          301 W Lincoln St, Suite 104                                When was the debt incurred?
          Belleville, IL 62220
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services


 4.8
 1        Rent A Center                                              Last 4 digits of account number       8620                                             $6,450.00
          Nonpriority Creditor's Name
          1974 B Vandalia                                            When was the debt incurred?
          Collinsville, IL 62234-4846
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Rental Contract


 4.8      Safety & Financial Responsibility
 2        Sectio                                                     Last 4 digits of account number       9017                                               $100.00
          Nonpriority Creditor's Name
          2701 S Dirksen Parkway                                     When was the debt incurred?
          Springfield, IL 62723-1000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Reinstatement Fee




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 28 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 48 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.8
 3        Sam's Club                                                 Last 4 digits of account number                                                          $100.00
          Nonpriority Creditor's Name
          c/o Synchrony Bank                                         When was the debt incurred?
          Attn: Bankruptcy Dept
          PO BOx 965060
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card Purchases


 4.8
 4        SKO Brenner America Inc.                                   Last 4 digits of account number       1522                                                 $33.29
          Nonpriority Creditor's Name
          40 Daniel St                                               When was the debt incurred?
          PO Box 230
          Farmingdale, NY 11735-0230
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Copper Chef


 4.8
 5        Southern IL Pulmonary Consultants                          Last 4 digits of account number       1442                                                 $30.00
          Nonpriority Creditor's Name
          340 W Lincoln St, Suite 300                                When was the debt incurred?
          Belleville, IL 62220
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 29 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 49 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.8
 6        Southwestern Hearing Centers                               Last 4 digits of account number       5998                                             $1,928.00
          Nonpriority Creditor's Name
          36 Hampton Village Plaza                                   When was the debt incurred?
          Saint Louis, MO 63109-2127
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical


 4.8
 7        Specified Credit Association Inc.                          Last 4 digits of account number       6629                                                 $60.00
          Nonpriority Creditor's Name
          2388 Schuetz, Ste A-100                                    When was the debt incurred?
          Saint Louis, MO 63146
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities


 4.8
 8        Spectrum                                                   Last 4 digits of account number                                                          $350.00
          Nonpriority Creditor's Name
          P.O. Box 790086                                            When was the debt incurred?
          Saint Louis, MO 63179-0086
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Cellular Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 30 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 50 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.8
 9        Spotloan                                                   Last 4 digits of account number       4032                                             $1,678.00
          Nonpriority Creditor's Name
          PO Box 927                                                 When was the debt incurred?
          Palatine, IL 60078-0927
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal Loan


 4.9
 0        St Elizabeth's Hospital                                    Last 4 digits of account number                                                          $760.00
          Nonpriority Creditor's Name
          PO Box 6580                                                When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical


 4.9
 1        Sunrise Credit Service                                     Last 4 digits of account number       9828                                               $558.73
          Nonpriority Creditor's Name
          PO Box 9100                                                When was the debt incurred?
          Farmingdale, NY 11735-9100
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Spectrum




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 31 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 51 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.9
 2        Swing City Music                                           Last 4 digits of account number                                                          $267.00
          Nonpriority Creditor's Name
          1811 Vandalia St                                           When was the debt incurred?
          Collinsville, IL 62234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Music Items


 4.9
 3        T Mobile/T-Mobile USA Inc                                  Last 4 digits of account number                                                          $887.46
          Nonpriority Creditor's Name
          by American InfoSource LP as                               When was the debt incurred?
          agent
          4515 N Santa Fe Ave
          Oklahoma City, OK 73118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Cellular Services


 4.9
 4        USAA                                                       Last 4 digits of account number       5637                                             $1,727.32
          Nonpriority Creditor's Name
          10750 McDermott Fwy                                        When was the debt incurred?           01/2015
          San Antonio, TX 78288-0570
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Car Accident




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 32 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                        Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 52 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.9
 5        Village of Maryville Water & Sewer                         Last 4 digits of account number       0004                                                 $46.00
          Nonpriority Creditor's Name
          2520 N Center St                                           When was the debt incurred?
          Maryville, IL 62062-5671
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities


 4.9
 6        Walmart Synchrony Bank                                     Last 4 digits of account number                                                          $100.00
          Nonpriority Creditor's Name
          PO Box 965060                                              When was the debt incurred?
          Orlando, FL 32896-5060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card Purchases


 4.9
 7        Washington University Physicians                           Last 4 digits of account number                                                          $508.00
          Nonpriority Creditor's Name
          660 S. Euclid Abenue                                       When was the debt incurred?           2018
          Campus Box 8239
          Saint Louis, MO 63110
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 33 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                         Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 53 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 4.9
 8         Wilber & Associates, PC                                   Last 4 digits of account number       7129                                                     $1,727.00
           Nonpriority Creditor's Name
           210 Landmark Dr                                           When was the debt incurred?
           Normal, IL 61761-2194
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Americollect                                                  Line 4.51 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1690                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Manitowoc, WI 54221-1690
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cavalry SPV II, LLV                                           Line 4.36 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 520                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Valhalla, NY 10595
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CCF of Missouri, LLC                                          Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6785 Bobcat Way, Suite 200                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Dublin, OH 43016
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CCI Contract Callers, Inc                                     Line 4.79 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 501 Greene St, 3rd Floor, Suite 302                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Augusta, GA 30901
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit Bureau Services                                        Line 4.68 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2147 William Street                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 908
 Cape Girardeau, MO 63702
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 H & R Accounts                                                Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5320 22nd Avenue                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sequium Asset Solutions, LLC                                  Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1699                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Southgate, MI 48195-0699
                                                               Last 4 digits of account number



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 34 of 35
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                          Main Document
 Debtor 1 Michael Eugene Minter
                                                                        Pg 54 of 87
 Debtor 2 Linda Rose Minter                                                                              Case number (if known)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Washington University Physicians                              Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 660 S. Euclid Abenue                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Campus Box 8239
 Saint Louis, MO 63110
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wilber & Associates, PC                                       Line 4.94 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 210 Landmark Dr                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Normal, IL 61761-2194
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                  242,865.27

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  242,865.27




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 35 of 35
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               Case 19-10446                   Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                          Main Document
                                                                          Pg 55 of 87
 Fill in this information to identify your case:

 Debtor 1                  Michael Eugene Minter
                           First Name                         Middle Name              Last Name

 Debtor 2                  Linda Rose Minter
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               EASTERN DISTRICT OF MISSOURI

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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              Case 19-10446                     Doc 1             Filed 05/29/19 Entered 05/29/19 10:41:04                  Main Document
                                                                              Pg 56 of 87
 Fill in this information to identify your case:

 Debtor 1                   Michael Eugene Minter
                            First Name                            Middle Name       Last Name

 Debtor 2                   Linda Rose Minter
 (Spouse if, filing)        First Name                            Middle Name       Last Name


 United States Bankruptcy Court for the:                 EASTERN DISTRICT OF MISSOURI

 Case number
 (if known)                                                                                                                     Check if this is an
                                                                                                                                amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:

    3.1                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                      ZIP Code




    3.2                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                      ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                   Page 1 of 1
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             Case 19-10446               Doc 1      Filed 05/29/19 Entered 05/29/19 10:41:04                            Main Document
                                                                Pg 57 of 87


Fill in this information to identify your case:

Debtor 1                      Michael Eugene Minter

Debtor 2                      Linda Rose Minter
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF MISSOURI

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00     $              0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00            $        0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
           Case 19-10446            Doc 1        Filed 05/29/19 Entered 05/29/19 10:41:04                                  Main Document
                                                             Pg 58 of 87

Debtor 1   Michael Eugene Minter
Debtor 2   Linda Rose Minter                                                                     Case number (if known)



                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $                0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $                0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $                0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $                0.00
     5e.    Insurance                                                                     5e.        $              0.00     $                0.00
     5f.    Domestic support obligations                                                  5f.        $              0.00     $                0.00
     5g.    Union dues                                                                    5g.        $              0.00     $                0.00
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $                0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $                0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $                0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00     $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $          0.00         $            0.00
     8d. Unemployment compensation                                                        8d.        $          0.00         $            0.00
     8e. Social Security                                                                  8e.        $      1,281.00         $        1,231.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $             208.93
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          1,281.00         $           1,439.93

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              1,281.00 + $         1,439.93 = $           2,720.93
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.    $          2,720.93
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                        page 2
         Case 19-10446                 Doc 1        Filed 05/29/19 Entered 05/29/19 10:41:04                                    Main Document
                                                                Pg 59 of 87


Fill in this information to identify your case:

Debtor 1                 Michael Eugene Minter                                                             Check if this is:
                                                                                                               An amended filing
Debtor 2                 Linda Rose Minter                                                                     A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF MISSOURI                                               MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Grandson                             13                   Yes
                                                                                                                                             No
                                                                                   Grandson                             14                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                              650.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                 0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                 0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
        Case 19-10446                 Doc 1         Filed 05/29/19 Entered 05/29/19 10:41:04                                      Main Document
                                                                Pg 60 of 87
Debtor 1     Michael Eugene Minter
Debtor 2     Linda Rose Minter                                                                         Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 300.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  50.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 200.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                600.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 75.00
10.   Personal care products and services                                                    10. $                                                  40.00
11.   Medical and dental expenses                                                            11. $                                                 100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 150.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  20.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  131.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  400.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       2,716.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       2,716.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               2,720.93
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,716.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                    4.93

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
              Case 19-10446                  Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                          Main Document
                                                                        Pg 61 of 87



 Fill in this information to identify your case:

 Debtor 1                    Michael Eugene Minter
                             First Name                     Middle Name             Last Name

 Debtor 2                    Linda Rose Minter
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF MISSOURI

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Michael Eugene Minter                                                 X   /s/ Linda Rose Minter
              Michael Eugene Minter                                                     Linda Rose Minter
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       May 29, 2019                                                   Date    May 29, 2019




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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              Case 19-10446                  Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                 Main Document
                                                                        Pg 62 of 87


 Fill in this information to identify your case:

 Debtor 1                  Michael Eugene Minter
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Linda Rose Minter
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF MISSOURI

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there
        2900 Sand Road, Lot 114                                  From-To:                       Same as Debtor 1                                    Same as Debtor 1
        Edwardsville, IL 62025                                   06/15/2016 -                                                                    From-To:
                                                                 06/01/2018


3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 For the calendar year before that:                   Wages, commissions,                              $0.00          Wages, commissions,                $14,720.00
 (January 1 to December 31, 2017 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                 Main Document
 Debtor 1      Michael Eugene Minter
                                                                        Pg 63 of 87
 Debtor 2      Linda Rose Minter                                                                           Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Social Security                                             $6,405.00        Social Security &                      $7,199.65
 the date you filed for bankruptcy:                                                                                Pension

 For last calendar year:                           Social Security                              $16,620.00         Social Security &                    $27,907.06
 (January 1 to December 31, 2018 )                 Benefits                                                        Wages & Pension

 For the calendar year before that:                Social Security                              $16,205.00         Social Security                      $11,976.00
 (January 1 to December 31, 2017 )                 Benefits                                                        Benefits


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                 Main Document
 Debtor 1      Michael Eugene Minter
                                                                        Pg 64 of 87
 Debtor 2      Linda Rose Minter                                                                           Case number (if known)


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened
       Prestige Financial Services                               2016 Kia Soul                                                04/2019                     $10,000.00
       PO Box 26707
       Salt Lake City, UT 84126                                      Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                 Main Document
 Debtor 1      Michael Eugene Minter
                                                                        Pg 65 of 87
 Debtor 2      Linda Rose Minter                                                                           Case number (if known)


 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       The Jewel Law Firm, LLC                                       Filing Fee                                               05/2019                    $335.00
       1416 N. Kingshighway
       Cape Girardeau, MO 63701
       lesleydormeyer@yahoo.com


       Summit Financial                                              CCC                                                      05/28/2019                   $14.95
       4800 E. Flower St.
       Tucson, AZ 85712
       www.summitfe.org


       Russell C Simon                                               Chapter 13 Payments                                      Made from                $1,628.83
       Chapter 13 Bankruptcy Trustee                                                                                          roughly
       24 Bronze Pointe                                                                                                       04/2018 -
       Belleville, IL 62226-1099                                                                                              10/2018




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                 Main Document
 Debtor 1      Michael Eugene Minter
                                                                        Pg 66 of 87
 Debtor 2      Linda Rose Minter                                                                           Case number (if known)


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred
       Bank of Edwardsville                                      XXXX-                        Checking                  06/2018                               $0.00
       330 W Vandalia St                                                                      Savings
       Edwardsville, IL 62025
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                               have it?
                                                                     State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                     Main Document
 Debtor 1      Michael Eugene Minter
                                                                        Pg 67 of 87
 Debtor 2      Linda Rose Minter                                                                                Case number (if known)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                      have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                        Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you     Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you     Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case               Status of the
       Case Number                                                   Name                                                                        case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
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             Case 19-10446                    Doc 1         Filed 05/29/19 Entered 05/29/19 10:41:04                                Main Document
 Debtor 1      Michael Eugene Minter
                                                                        Pg 68 of 87
 Debtor 2      Linda Rose Minter                                                                           Case number (if known)


                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Michael Eugene Minter                                               /s/ Linda Rose Minter
 Michael Eugene Minter                                                   Linda Rose Minter
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date      May 29, 2019                                                  Date     May 29, 2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
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              Case 19-10446                  Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                     Main Document
                                                                        Pg 69 of 87

 Fill in this information to identify your case:

 Debtor 1                  Michael Eugene Minter
                           First Name                       Middle Name              Last Name

 Debtor 2                  Linda Rose Minter
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF MISSOURI

 Case number
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                     12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Title Max of Illinois, Inc                           Surrender the property.                              No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                 Yes
    Description of        1997 Dodge Ram 1500 175000                        Reaffirmation Agreement.
    property              miles                                             Retain the property and [explain]:
    securing debt:        Not running. Motor is shot

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                       Will the lease be assumed?

 Lessor's name:                                                                                                            No
 Description of leased
 Property:                                                                                                                 Yes

 Lessor's name:                                                                                                            No
 Description of leased
 Property:                                                                                                                 Yes

 Lessor's name:

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                   page 1

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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                          Main Document
                                                                        Pg 70 of 87
 Debtor 1      Michael Eugene Minter
 Debtor 2      Linda Rose Minter                                                                     Case number (if known)


 Description of leased                                                                                                        No
 Property:
                                                                                                                              Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Michael Eugene Minter                                                    X /s/ Linda Rose Minter
       Michael Eugene Minter                                                           Linda Rose Minter
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        May 29, 2019                                                     Date    May 29, 2019




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                             page 2

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               Case 19-10446                 Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                  Main Document
                                                                        Pg 71 of 87

 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Michael Eugene Minter
 Debtor 2              Linda Rose Minter                                                                   1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                           2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            Eastern District of Missouri
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                               0.00      $              0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                               0.00      $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                               0.00      $              0.00
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                            $        0.00
        Ordinary and necessary operating expenses                        -$        0.00
        Net monthly income from a business, profession, or farm $                  0.00 Copy here -> $                  0.00      $              0.00
  6. Net income from rental and other real property
                                                                                    Debtor 1
        Gross receipts (before all deductions)                            $        0.00
        Ordinary and necessary operating expenses                        -$        0.00
        Net monthly income from rental or other real property            $         0.00 Copy here -> $                  0.00      $              0.00
                                                                                                       $                0.00      $              0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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             Case 19-10446                   Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                                  Main Document
                                                                        Pg 72 of 87
 Debtor 1     Michael Eugene Minter
 Debtor 2     Linda Rose Minter                                                                          Case number (if known)



                                                                                                     Column A                     Column B
                                                                                                     Debtor 1                     Debtor 2 or
                                                                                                                                  non-filing spouse
  8. Unemployment compensation                                                                       $                  0.00      $             0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                   0.00
            For your spouse                                          $                    0.00
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                         $                  0.00      $           208.93
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                       $                  0.00      $             0.00
                                                                                                     $                  0.00      $             0.00
                  Total amounts from separate pages, if any.                                     +   $                  0.00      $             0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                $             0.00       +   $       208.93       =    $          208.93

                                                                                                                                                    Total current monthly
                                                                                                                                                    income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                                Copy line 11 here=>              $              208.93

              Multiply by 12 (the number of months in a year)                                                                                           x 12
       12b. The result is your annual income for this part of the form                                                                  12b. $             2,507.16

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                 MO

       Fill in the number of people in your household.                        4
       Fill in the median family income for your state and size of household.                                                           13.     $         85,651.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Michael Eugene Minter                                              X /s/ Linda Rose Minter
                Michael Eugene Minter                                                      Linda Rose Minter
                Signature of Debtor 1                                                      Signature of Debtor 2
        Date May 29, 2019                                                          Date May 29, 2019
             MM / DD / YYYY                                                             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.



Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                       page 2
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                     Main Document
                                                                        Pg 73 of 87
Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                     Main Document
                                                                        Pg 74 of 87


        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                    Main Document
                                                                        Pg 75 of 87
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $75       administrative fee                                          factors.
                   $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                 fiduciary capacity,
                   $310       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                   Main Document
                                                                        Pg 76 of 87
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                       Main Document
B2030 (Form 2030) (12/15)
                                                                        Pg 77 of 87
                                                               United States Bankruptcy Court
                                                                      Eastern District of Missouri
             Michael Eugene Minter
 In re       Linda Rose Minter                                                                                Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     750.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                     750.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):           LSSM

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               This agreement does not include fees for adding creditors after filing, Motions to Avoid Liens, Motions to
               Redeem, and/or Reaffirmation agreements. If at any time during Chapter 7 proceeding an adversarial complaint is
               filed, debtors are to pay additional fees for representation or obtain other representation.
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 29, 2019                                                                 /s/ Lesley M. Dormeyer
     Date                                                                         Lesley M. Dormeyer 59877MO
                                                                                  Signature of Attorney
                                                                                  The Jewel Law Firm, LLC
                                                                                  1416 N. Kingshighway
                                                                                  Cape Girardeau, MO 63701
                                                                                  573-332-1001 Fax: 573-332-1077
                                                                                  lesleydormeyer@yahoo.com
                                                                                  Name of law firm




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            Case 19-10446                    Doc 1          Filed 05/29/19 Entered 05/29/19 10:41:04                  Main Document
                                                                        Pg 78 of 87



                                                               United States Bankruptcy Court
                                                                     Eastern District of Missouri
            Michael Eugene Minter
 In re      Linda Rose Minter                                                                              Case No.
                                                                                 Debtor(s)                 Chapter    7




                                                     VERIFICATION OF CREDITOR MATRIX

       The above named debtor(s) hereby certifies/certify under penalty of perjury that the attached list
containing the names and addresses of my creditors (Matrix), consisting of 9 page(s) and is true, correct and
complete.




                                                                               /s/ Michael Eugene Minter
                                                                               Michael Eugene Minter
                                                                               Debtor
                                                                               /s/ Linda Rose Minter
                                                                               Linda Rose Minter
                                                                               Joint Debtor


                                                                               Dated:    May 29, 2019




                                                                                                                             (L.F. 2 Rev. 03/03)
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    Case 19-10446   Doc 1   Filed 05/29/19 Entered 05/29/19 10:41:04   Main Document
                                        Pg 79 of 87

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                        AAA Insurance Co.
                        12901 N Forty Drive
                        Saint Louis, MO 63141-8634

                        Aaron's
                        2035 W US Hwy 50
                        Fairview Heights, IL 62208-2928

                        Ameren Illinois
                        2105 E State Route 104
                        Pawnee, IL 62558

                        Ameren IP
                        500 S 27th St
                        Decatur, IL 62521

                        Americollect
                        PO Box 1690
                        Manitowoc, WI 54221-1690

                        Aspen Waste Systems
                        c/o Specified Credit Association
                        2388 Schuetz Suite A100
                        Saint Louis, MO 63146-3434

                        AT&T
                        Bankrutcy Department
                        P.O. Box 769
                        Arlington, TX 76004

                        AT&T Corp
                        by American InfoSource LP as agent
                        4515 N Santa Fe Ave
                        Oklahoma City, OK 73118

                        Atlas Acquisitions LLC
                        294 Union St
                        Hackensack, NJ 07601-4303

                        Barnes Jewish Hospital
                        P.O. Box 954540
                        Saint Louis, MO 63195-4540

                        BJC Health Care
                        PO Box 958410
                        Saint Louis, MO 63195-8410

                        BJC Home Care Services
                        6900 College Blvd
                        Suite 550
                        Leawood, KS 66211

                        Bridgecrest Credit Company, LLC
                        PO Box 29018
                        Phoenix, AZ 85038
Case 19-10446   Doc 1   Filed 05/29/19 Entered 05/29/19 10:41:04   Main Document
                                    Pg 80 of 87


                    CACi
                    GLCAC102
                    P.O. Box 1022
                    Wixom, MI 48393-1022

                    Car Credit City
                    c/o Anthony K Reiner
                    11970 Borman Drive, Suite 250
                    Saint Louis, MO 63146-4153

                    Car Mart
                    1455 North Kingshighway
                    Cape Girardeau, MO 63701

                    Cash Central
                    PO Box 4115
                    Concord, CA 94524

                    Castle Acres
                    1713 W Us Hwy 50
                    O Fallon, IL 62269

                    Cavalry SPV II LLC
                    500 Summit Lake Drive
                    Suite 400
                    Valhalla, NY 10595

                    Cavalry SPV II, LLV
                    PO Box 520
                    Valhalla, NY 10595

                    CCF of Missouri, LLC
                    6785 Bobcat Way, Suite 200
                    Dublin, OH 43016

                    CCI Contract Callers, Inc
                    501 Greene St, 3rd Floor, Suite 302
                    Augusta, GA 30901

                    Charter Communications
                    PO Box 790086
                    Saint Louis, MO 63179

                    Check 'n Go
                    c/o Real Time Resolutions, Inc.
                    PO Box 566027
                    Dallas, TX 75356-6027

                    Check Into Cash
                    P.O. Box 550
                    201 Keith Street, Suite 800
                    Cleveland, TN 37364-0550
Case 19-10446   Doc 1   Filed 05/29/19 Entered 05/29/19 10:41:04   Main Document
                                    Pg 81 of 87


                    Consumer Collection Mana
                    P.O. Box 1839
                    Maryland Heights, MO 63043

                    Credit Bureau Services
                    2147 William Street
                    P.O. Box 908
                    Cape Girardeau, MO 63702

                    Crochet
                    PO Box 5900
                    Big Sandy, TX 75755-5900

                    Davis Pet Hospital
                    816 S. Morrison Ave
                    Collinsville, IL 62234

                    Direct TV
                    PO Box 1699
                    Southgate, MI 48195-0699

                    Dish Network
                    P.O. Box 94063
                    Palatine, IL 60094-4063

                    Distinctive Dermatology
                    180 Weidman Rd, Suite 125
                    Ballwin, MO 63021-5724

                    Dr Kenneth Kollman
                    90 Crestmoor
                    Collinsville, IL 62234-4951

                    Dr Regina Chiu MD
                    340 W Lincoln St #400
                    Belleville, IL 62220

                    Drew Kozando
                    614 Kiefner St.
                    Perryville, MO 63775

                    DT Acceptance Corp
                    7400 S Lindbergh Blvd
                    Saint Louis, MO 63125-4836

                    Edwardsville Ambulatory Surgery Ctr
                    12 Ginger Creek Pkwy
                    Glen Carbon, IL 62034-3502

                    ENT Sleep
                    1179 Fortune Blvd
                    O Fallon, IL 62269
Case 19-10446   Doc 1   Filed 05/29/19 Entered 05/29/19 10:41:04   Main Document
                                    Pg 82 of 87


                    Fingerhut Direct Marketing
                    6509 Flying Clouds Dr,
                    Eden Prairie, MN 55344

                    First Premier Bank
                    PO Box 5529
                    Sioux Falls, SD 57117-5529

                    Full Circle Financial Services
                    PO Box 2438
                    Largo, FL 33779-2438

                    GE Money Bank
                    PO Box 965007
                    Orlando, FL 32896

                    General Credit Acceptance Company, LLC
                    c/o Miller & Steeno, PC
                    11970 Borman Drive, Suite 250
                    Saint Louis, MO 63146

                    GLCAC
                    PO Box 1280
                    Oaks, PA 19456-1280

                    Glen Carbon Family Dentistry
                    4235 S State Rte 159
                    Glen Carbon, IL 62034-3232

                    Glennon Care Prof Service
                    Day Knight & Assoc
                    PO Box 5
                    Grover, MO 63040

                    H & R Accounts
                    5320 22nd Avenue

                    Halsted Financial Svcs, LLC
                    PO Box 828
                    Skokie, IL 60076-0828

                    Herrschners Treasury
                    PO Box 761
                    Stevens Point, WI 54481-0761

                    HSHS Division Southern IL
                    St Elizabeth's Hospital
                    PO BOx 6580
                    Carol Stream, IL 60197

                    HSHS Hospital Sisters
                    PO Box 13427
                    Springfield, IL 62791
Case 19-10446   Doc 1   Filed 05/29/19 Entered 05/29/19 10:41:04   Main Document
                                    Pg 83 of 87


                    HSHS Medical Group
                    29333 Network Place
                    Chicago, IL 60673

                    HSHS/St Elizabeth Hospital
                    211 N 3rd St
                    Belleville, IL 62220

                    Illinois Bell Telephone Company
                    % AT&T Services Inc
                    Karen A Cavagnaro - Lead Paralegal
                    One AT&T Way, Room 3A104
                    Bedminster, NJ 07921

                    Illinois Department of Revenue
                    PO Box 19035
                    Springfield, IL 62794-9035

                    Illinois Dept of Revenue
                    Bankruptcy Section
                    PO Box 64338
                    Chicago, IL 60664-0291

                    Infinity Meds LLP
                    800 E Carpenter St
                    Springfield, IL 62702

                    Instacredit Auto Mart
                    1807 W US 50
                    O Fallon, IL 62269-1647

                    Internal Revenue Service
                    PO Box 7346
                    Philadelphia, PA 19101-7346

                    Jerry D Graham Jr.
                    JD Graham PC
                    1 Eagle Center
                    Suite 3A
                    O Fallon, IL 62269-1867

                    Kevin Barnett, MD
                    1414 Cross St, Suite 330
                    O Fallon, IL 62269-2988

                    King's Spinal & Sports Rehab
                    1525 Johnson Road
                    Granite City, IL 62040

                    Med Resources
                    14808 N Outer 40 Rd, Suite 100
                    Chesterfield, MO 63017
Case 19-10446   Doc 1   Filed 05/29/19 Entered 05/29/19 10:41:04   Main Document
                                    Pg 84 of 87


                    Medical West
                    PO Box 230
                    Odessa, MO 64076-0230

                    Memorial Hospital
                    1900 State Street
                    Chester, IL 62233

                    Metro East Sanitary District
                    1800 Edison Ave
                    Granite City, IL 62040

                    Moto Mart Card
                    c/o FKG Oil Company
                    721 W Main St
                    Belleville, IL 62220

                    Musick Dermatology LLC
                    4932 Benchmark Centre Dr
                    Belleville, IL 62226-2040

                    Neal's Plumbing Service, Inc.
                    1404 Bauer Rd
                    Troy, IL 62294

                    NES of OHIO
                    2479 Edison Blvd Unit A
                    Twinsburg, OH 44087

                    North Shore Agency
                    PO Box 9205
                    Old Bethpage, NY 11804-9005

                    Optum Rx
                    PO Box 9040
                    Carlsbad, CA 92018-9040

                    PCMH Wound Clinic
                    206 Hospital Lane, Suite 204
                    Perryville, MO 63775

                    Perry County Memorial Hospital
                    434 N West St
                    Perryville, MO 63775

                    PRA Receivables Management LLC
                    PO Box 41021
                    Norfolk, VA 23541-1021

                    Prairie Cardiovascular
                    P.O. Box 19420
                    Springfield, IL 62794
Case 19-10446   Doc 1   Filed 05/29/19 Entered 05/29/19 10:41:04   Main Document
                                    Pg 85 of 87


                    Premier Bankcard, LLC
                    Jefferson Capital Systems, LLC Assignee
                    PO Box 7999
                    Saint Cloud, MN 56302-9617

                    Prestige Financial Services
                    PO Box 26707
                    Salt Lake City, UT 84126

                    Professional Adjustment Bureau
                    1305 South 9th Street
                    Springfield, IL 62703

                    Progressive Leasing LLC
                    10619 S Jordan Gateway, Suite 100
                    South Jordan, UT 84095

                    Quantum Vision Centers
                    12692 Lamplighter Square Shopping Center
                    Saint Louis, MO 63128

                    Quantum3 Group LLC as agent for
                    Galazy International Purchasing LLC
                    PO Box 788
                    Kirkland, WA 98083-0788

                    Quest Diagnostics
                    PO Box 7306
                    Hollister, MO 65673

                    QVC
                    100 QVC Blvd
                    Rocky Mount, NC 27815

                    Radiology Consults MidAmerica
                    301 W Lincoln St, Suite 104
                    Belleville, IL 62220
                    Rent A Center
                    1974 B Vandalia
                    Collinsville, IL 62234-4846

                    Safety & Financial Responsibility Sectio
                    2701 S Dirksen Parkway
                    Springfield, IL 62723-1000

                    Sam's Club
                    c/o Synchrony Bank
                    Attn: Bankruptcy Dept
                    PO BOx 965060
                    Orlando, FL 32896

                    Sequium Asset Solutions, LLC
                    PO Box 1699
                    Southgate, MI 48195-0699
Case 19-10446   Doc 1   Filed 05/29/19 Entered 05/29/19 10:41:04   Main Document
                                    Pg 86 of 87


                    SKO Brenner America Inc.
                    40 Daniel St
                    PO Box 230
                    Farmingdale, NY 11735-0230

                    Southern IL Pulmonary Consultants
                    340 W Lincoln St, Suite 300
                    Belleville, IL 62220

                    Southwestern Hearing Centers
                    36 Hampton Village Plaza
                    Saint Louis, MO 63109-2127

                    Specified Credit Association Inc.
                    2388 Schuetz, Ste A-100
                    Saint Louis, MO 63146

                    Spectrum
                    P.O. Box 790086
                    Saint Louis, MO 63179-0086

                    Spotloan
                    PO Box 927
                    Palatine, IL 60078-0927

                    St Elizabeth's Hospital
                    PO Box 6580
                    Carol Stream, IL 60197

                    Sunrise Credit Service
                    PO Box 9100
                    Farmingdale, NY 11735-9100

                    Swing City Music
                    1811 Vandalia St
                    Collinsville, IL 62234

                    T Mobile/T-Mobile USA Inc
                    by American InfoSource LP as agent
                    4515 N Santa Fe Ave
                    Oklahoma City, OK 73118

                    Title Max of Illinois, Inc
                    2533 - B Vandalia St
                    Collinsville, IL 62234

                    USAA
                    10750 McDermott Fwy
                    San Antonio, TX 78288-0570

                    Village of Maryville Water & Sewer
                    2520 N Center St
                    Maryville, IL 62062-5671
Case 19-10446   Doc 1   Filed 05/29/19 Entered 05/29/19 10:41:04   Main Document
                                    Pg 87 of 87


                    Walmart Synchrony Bank
                    PO Box 965060
                    Orlando, FL 32896-5060

                    Washington University Physicians
                    660 S. Euclid Abenue
                    Campus Box 8239
                    Saint Louis, MO 63110

                    Wilber & Associates, PC
                    210 Landmark Dr
                    Normal, IL 61761-2194
